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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada           ) Case No. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.   )
STANLEY, as Trustee for THE           )
EDMON KELLER AND CLEAVETTE            ) SUMMONS
MAE STANLEY FAMILY TRUST;             )
CRAIG B. STANLEY, individually;       )
MILLICENT ANDRADE, individually,      )
                                      )
                  Plaintiffs,         )
                                     )
             vs.                      )
                                     )
ABNER GUARINO; AURORA )
GAURINO; ABIGAIL GUARINO; )
INVESTORS              FUNDING)
CORPORATION, as Trustee for an )
unrecorded Loan Participation )
Agreement dated June 30, 2014; APT- )
320, LLC, a Hawaii limited liability ) Caption continued on next page)
company; CRISTETA C. OWAN, an )
individual; ROMMEL GUZMAN; )
FIDELITY NATIONAL TITLE & )
ESCROW OF HAWAII and DOES 1- )
100 Inclusive,                       )
                  Defendants.        )
                                     )
                                     )
APT-320, LLC, a Hawaii Limited )
Liability Company                    )
                                     )
            Third Party Plaintiff    )
                                     )
                                     )
                                     )
APARTMENT OWNERS                  OF)
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DIAMOND HEAD SANDS,               )
        Third Party Defendant.    )
                                  )
ABIGAIL LEE GAURINO; CRAIG B. )
STANLEY, as Trustee for THE )
EDMON KELLER AND CLEAVETTE )
MAE STANLEY FAMILY TRUST; )
CRAIG B. STANLEY, individually,   )
                                  )
          Third Party             )
          Cross-Claim Defendants. )
~~~~~~~~)


                                  SUMMONS

To Defendant and
Third Party Plaintiff:         APT-320, LLC, a Hawaii Limited Liability
                               Company

To Plaintiffs and
Third Party Counter-           CRAIG B. STANLEY, as Trustee for THE EDMON
Claim Defendants:              KELLER AND CLEAVETTE MAE STANLEY
                               FAMILY TRUST and CRAIG B . STANLEY,
                               individually

To Defendant and Third
Party Cross-claim Defendant:   ABIGAIL LEE GAURINO



      You are hereby summoned and required to file with the Court and serve upon
Anderson Lahne & Fujisaki LLP A Limited Liability Law Partnership, attorneys for
Third Party Defendant ASSOCIATION OF APARTMENT OWNERS OF
DIAMOND HEAD SANDS, whose address is 733 Bishop Street, Suite 2301, Pacific
Guardian Center, Makai Tower, Honolulu, Hawaii 96813, an answer to the Third

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Party Counterclaim or Third Party Cross-Claim which is served upon you, within
twenty-one (21) days after service of this summons upon you, exclusive of the day
of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the Third Party Counterclaim or Third Party Cross-Claim.
      This summons shall not be personally delivered between 10:00 p.m. and 6:00
a.m. on premises not open to the general public, unless a judge of the above-entitled
court permits, in writing on this summons, personal delivery during those hours.
      A failure to obey this summons may result in an entry of default and default
judgment against the disobeying person or party.


             DATED: Honolulu, Hawaii October 26, 2017 .




                                    SUE BEITIA
                                    Clerk of the above-entitled Court


                                    /s/SUE BEITIA by AFC, Deputy Clerk




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